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FILED

IN THE UNITED STATES DISTRICT COURT OCT 24 2017

FOR THE WESTERN DISTRICT OF PENNSYLVANIA CLERK ys DISTRICT ¢
WEST. DIST. OF PENNSVLVAKA

 

UNITED STATES OF AMERICA ) —

) Criminal No. (“7 ~ 29S
Vv. ) [UNDER SEAL]

)

ANDRZEJ KAZIMIERZ ZIELKE ) (18 ULS.C. § 2, 21 U.S.C. §§ 841(a)(1),
) 841(b)(1)(C) and 846)

INDICTMENT
COUNTS ONE THROUGH FIVE
The grand jury charges:

On or about the dates set forth below, in the Western District of Pennsylvania,
defendant ANDRZEJ KAZIMIERZ ZIELKE did knowingly, intentionally and unlawfully
dispense and distribute, and cause to be dispensed and distributed, quantities of Morphine Sulfate
and Hydrocodone, both of which are Schedule II controlled substances, to an individual known to
the grand jury as “J. Z.” outside the usual course of professional practice and not for a legitimate

medical purpose, each such instance being a separate count of this Indictment.

 

 

 

 

 

 

Count Date Individual
1 July 6, 2016 J. Z.
2 July 15, 2016 J.Z.
3 July 28, 2016 J.Z.
4 August 10, 2016 J.Z.
5 August 25, 2016 J.Z.

 

 

 

 

 

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C) and Title

18, United States Code, Section 2.

 
 

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COUNTS SIX AND SEVEN

The grand jury further charges:

On or about the dates set forth below, in the Western District of Pennsylvania, defendant
ANDRZEJ KAZIMIERZ ZIELKE did knowingly, intentionally and unlawfully dispense and
distribute, and cause to be dispensed and distributed, quantities of Methadone and Oxycodone,
both of which are Schedule II controlled substances, to an individual known to the grand jury as
“T.M.” outside the usual course of professional practice and not for a legitimate medical purpose,

each such instance being a separate count of this Indictment.

 

 

 

Count Date Individual
6 October 4, 2017 T.M.
7 October 4, 2017 T.M.

 

 

 

 

 

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C), and Title

18, United States Code, Section 2.

 

 
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COUNTS EIGHT THROUGH THIRTEEN
The grand jury further charges:
On or about the dates set forth below, in the Western District of Pennsylvania, defendant,
ANDRZEJ KAZIMIERZ ZIELKE, did knowingly, intentionally and unlawfully dispense and

distribute, and cause to be dispensed and distributed, quantities of Oxycodone, a Schedule II

|
controlled substance, to an individual known to the grand jury as “C.M.” outside the usual course
of professional practice and not for a legitimate medical purpose, each such instance being a

separate count of this Indictment.

 

 

 

 

 

 

 

Count Date Individual
8 October 3, 2017 C.M.
9 September 8, 2017 C.M.

10 August 11, 2017 C.M.

1] July 14, 2017 C.M.

12 June 12, 2017 C.M.

13 May 19, 2017 C.M.

 

 

 

 

 

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C), and Title

18, United States Code, Section 2.

 
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COUNT FOURTEEN

The grand jury further charges:

From in and around March 2016, and continuing thereafter to in and around October of
2017, in the Western District of Pennsylvania, defendant ANDRZEJ KAZIMIERZ ZIELKE did
knowingly, intentionally and unlawfully conspire with persons known and unknown to the grand
jury to distribute a quantity of Oxycodone, Hydrocodone, Morphine Sulfate and Methadone,
Schedule II controlled substances, contrary to the provisions of Title 21, United States Code,
Sections 841(a)(1) and 841(b)(1)(C).

In violation of Title 21, United States Code, Section 846.

A True Bill,

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SOOC.SONG C3
Acting United States Attorney
DC ID No. 457268

 

 
